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 8                           UNITED STATES DISTRICT COURT
 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
      JAMES ANTHONY BRYANT,               ) Case No. SACV 16-02145-JLS(DFMx)
11                                        )
                       Plaintiff(s),      ) ORDER STAYING ACTION PENDING FINAL
12                                        ) SETTLEMENT, REMOVING CASE FROM
                       v.                 ) ACTIVE CASELOAD, AND FILING OF
13                                        ) DISMISSAL
      A-CHECK AMERICA, INC.               )
14                                        )
                       Defendant(s).      )
15                                        )
                                          )
16                                        )
                                          )
17                                        )
18
            On July 21, 2017, Defendant filed a Notice of Settlement (doc.
19
      30), indicating that the case has been resolved. Based thereon, the
20
      Court hereby orders all proceedings in the case stayed pending final
21
      settlement.
22
            It is further ordered that this action is removed from the
23
      Court’s active caseload, subject to the right upon good cause shown
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      within thirty (30) days, to reopen the action if settlement is not
25
      consummated.
26
            ///
27
            ///
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     Case 8:16-cv-02145-JLS-DFM Document 31 Filed 07/26/17 Page 2 of 2 Page ID #:113




 1          The parties shall file a Stipulation of Dismissal no later than

 2    August 26, 2017. If no dismissal is filed, the Court deems the

 3    matter dismissed at that time.

 4          The Court retains full jurisdiction over this action and this

 5    order shall not prejudice any party in the action.

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 7    IT IS SO ORDERED.

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 9    DATED: July 26, 2017                          JOSEPHINE L. STATON
                                                  _______________________________
                                                  HONORABLE JOSEPHINE L. STATON
10                                                UNITED STATES DISTRICT JUDGE
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